           Case 3:14-cr-05159-BHS         Document 354     Filed 07/29/15    Page 1 of 3




 1

 2

 3

 4

 5
                            UNITED STATES DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
 7

 8 UNITED STATES OF AMERICA,
                                                       CASE NO. CR14-5159 BHS
 9                           Plaintiff,
                                                       ORDER DENYING
10               v.                                    DEFENDANTS’ MOTIONS FOR
                                                       ACQUITTAL
11 ISIDRO BENITEZ-CASTILLO, OSCAR
   RODRIGUEZ-RODRIGUEZ, FABIAN
12 VALDOVINOS-PEREZ & DAVID
   LOZANO-ALVARADO,
13
                    Defendants.
14

15
            This matter comes before the Court on Defendant Fabian Valdovinos-Perez’s
16
     (“Valdovinos-Perez”) motions for acquittal (Dkts. 298, 347), Defendant David Lozano-
17
     Alvarado’s (“Lozano-Alvarado”) motion for acquittal (Dkt. 303), and Defendant Isidro
18
     Benitez-Castillo’s (“Benitez-Castillo”) motion for acquittal (Dkt. 304). The Court has
19
     considered the pleadings filed in support of and in opposition to the motions and the
20
     remainder of the file and hereby denies the motions for the reasons stated herein.
21

22


     ORDER - 1
           Case 3:14-cr-05159-BHS       Document 354      Filed 07/29/15    Page 2 of 3




 1                               I. PROCEDURAL HISTORY

 2         On April 15, 2015, the Government filed a third superseding indictment against

 3 Defendants Valdovinos-Perez, Lozano-Alvarado, Benitez-Castillo, and Oscar Rodriguez-

 4 Rodriguez (“Defendants”) charging Defendants with conspiracy to distribute controlled

 5 substances as well as individual counts of distribution and possession of controlled

 6 substances. Dkt. 221.

 7         On May 5, 2015, the Court began a ten-day jury trial. Dkt. 273. On May 13,

 8 2015, Valdovinos-Perez filed a motion for acquittal. Dkt. 298. On May 14, 2015,

 9 Lozano-Alvarado and Benitez-Castillo filed motions for acquittal. Dkts. 303, 304. On

10 May 15, 2015, the Government responded to the motions. Dkt. 305. That same day, the

11 Court, on the record, orally reserved ruling on the pending motions for acquittal until

12 after the jury returned a verdict pursuant to Federal Rule of Criminal Procedure 29(b).

13 Dkt. 308.

14         On May 19, 2015, the jury returned a verdict of guilty on all counts. Dkt. 317. On

15 June 8, 2015, Lozano-Alvarado filed an additional memorandum in support of his

16 motion. Dkt. 333. On June 15, 2015, the Government responded to Lozano-Alvarado’s

17 motion. Dkt. 343. On June 19, 2015, Valdovinos-Perez filed another motion for

18 acquittal. Dkt. 347. On July 6, 2015, the Government responded to Valdovinos-Perez’s

19 second motion. Dkt. 351. On July 8, 2015, Lozano-Alvarado replied. Dkt. 352.

20                                      II. DISCUSSION

21         “A judgment of acquittal is improper if, viewing the evidence in the light most

22 favorable to the government, a rational trier of fact could have found the defendant guilty


     ORDER - 2
           Case 3:14-cr-05159-BHS         Document 354       Filed 07/29/15    Page 3 of 3




 1 beyond a reasonable doubt.” United States v. Ching Tang Lo, 447 F.3d 1212, 1221 (9th

 2 Cir. 2006) (quoting United States v. Alston, 974 F.2d 1206, 1210 (9th Cir. 1992)).

 3         In this case, the Government introduced sufficient evidence, when viewed in the

 4 light most favorable to the Government, to establish Defendants’ guilt beyond a

 5 reasonable doubt. With regard to the conspiracies charged in Counts One and Two, the

 6 Government established the conspiracies and introduced the minimal amount of evidence

 7 to show Defendants’ participation in the relevant conspiracy. United States v. Castaneda,

 8 16 F.3d 1504, 1510 (9th Cir. 1994) (“Once a conspiracy has been established, evidence of

 9 only a slight connection with it is sufficient to establish a defendant’s participation in it.”)

10 (citing United States v. Sanchez–Mata, 925 F.2d 1166 (9th Cir. 1991)). With regard to

11 the individual counts, the Government introduced sufficient evidence to establish each

12 Defendant’s guilt. Therefore, the Court denies the motions for acquittal.

13                                          III. ORDER

14         Therefore, it is hereby ORDERED that Valdovinos-Perez’s motions for acquittal

15 (Dkts. 298, 347), Lozano-Alvarado’s motion for acquittal (Dkt. 303), and Benitez-

16 Castillo’s motion for acquittal (Dkt. 304) are DENIED.

17         Dated this 29th day of July, 2015.

18

19

20
                                                A
                                                BENJAMIN H. SETTLE
                                                United States District Judge

21

22


     ORDER - 3
